Case 1:17-cr-00201-ABJ Document 117-1 Filed 12/27/17 Page 1 of 2




                                      Case No. 1:17-cr-00201-ABJ




                      EXHIBIT 1
        Case 1:17-cr-00201-ABJ Document 117-1 Filed 12/27/17 Page 2 of 2



Transcript of Rick Gates “Thank You Video,” created December 19, 2017, available for viewing
at https://www.facebook.com/ThePublicityAgency/videos/10154839335431152/




Good evening and thank you for being here tonight. I am both grateful and humbled that you
would come out this evening in such a strong show of support. I am thankful for your generosity
and your kindness beyond words. Despite not being with you in person tonight, I wanted to make
sure I had an opportunity to say thank you for your support and for your belief in my cause. By
being here tonight, you are giving us the tools that we will need to fight. And for that, I am
extremely grateful. As you may be aware, there is a gag order on the case, so I am not able to
talk specifically about the case. However, I can say that because of people like you, we will have
the resources to fight. Thank you especially to Jack Burkman for hosting the fundraiser, for
believing in my cause, and ensuring supporters from across the United States hear our message
and stand with us. Jack, thank you for your work, your commitment and your dedication.


On behalf of me and my family, I would like to wish you a very “Merry Christmas,” and a new
year full of hope and belief that our country is the greatest country in the world. I am certain that
each day in the new year, we will continue to strive to be even greater. God be with you. Thank
you very much.
